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                                                              FILED: August 4, 2015


                       UNITED STATES COURT OF APPEALS
                           FOR THE FOURTH CIRCUIT


                                 ___________________

                                       No. 14-4451
                                 (1:04-cr-00385-LMB-1)
                                 ___________________

 UNITED STATES OF AMERICA,

                Plaintiff - Appellee,

       v.

 ALI AL-TIMIMI,

                Defendant - Appellant.

                                 ___________________

                                      ORDER
                                 ___________________

       Upon consideration of submissions relative to appellant's motion to remand,

 the court grants the motion and remands this case to the district court for further

 proceedings.

       The appeal will remain on this court's active docket. The parties shall file a

 status report on September 3, 2015 and every thirty days thereafter and shall
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 immediately notify this court in writing when the district court has rendered a

 decision.

       The clerk is directed to attach a copy of the motion to remand to this order

 and to send a copy of the order and attachment to the district court.

                                         For the Court

                                         /s/ Patricia S. Connor, Clerk
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